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               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF KANSAS
                         (TOPEKA DOCKET)


UNITED STATES OF AMERICA,         )
                     Plaintiff,   )
                                  )
           vs.                    )              No. 12-40043-01/02-RDR
                                  )
JAVIER VAZQUEZ-HERNANDEZ, and)
JOSE LUIS OSORIEO-TORRES,         )
                   Defendants.    )
_________________________________)

                                   ORDER

      Now on this 12th day of July, 2012, the above-entitled matter comes before

the court upon the motion of the United States for an order extending the time

for filing of the government’s responses to the defendants’ pretrial motions, for

one week, pursuant to 18 U.S.C. § 3161(h). The court, after reviewing the

motion and being fully advised in the premises finds as follows:

      1.    The government’s responses to the pretrial motions filed by the

defendants in this matter are due on July 12, 2012.

      2.    Both defendants have filed multiple pretrial motions seeking

evidentiary hearings. The defendants’ recitations of the facts which allegedly

give rise to these motions are wholly inconsistent with reports of law
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enforcement involved in the investigation of this matter. Osorieo-Torres filed

his “Amended Memorandum of Law in Support of his Motion to Suppress and

for Franks Hearing” (Doc. 42) on July 11, 2012.

      3.    Government counsel has been involved in plea negotiations with

both defendants up until the date of the filing of this motion. Osorieo-Torres did

not notify the undersigned until July 11, 2012 that plea negotiations have failed

to resolve this matter. Plea negotiations with Vazquez-Hernandez, which would

alleviate the need for any response to the motions filed upon his behalf, are

continuing as of this writing. The undersigned should know the result of plea

negotiations with Vazquez-Hernandez within one week.

      4.    For the above-stated reasons, refusal to grant said request would

deny the government counsel the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence, as contemplated

by 18 U.S.C. § 3161(h)(7(B)(iv).

      5.    For the above-mentioned reasons, refusal to grant said request for

extension of time would result in a miscarriage of justice. See 18 U.S.C. § 3161

(h)(8)(B)(i).

      6.    Counsel for Osorieo-Torres does not oppose the instant motion.

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      7.    Counsel for Vazquez-Hernandez does not oppose the instant motion.

      8.    Both defendants in this matter have been detained pending trial of

this matter, due in part to immigration holds.

      9.    The additional time requested will not prejudice the parties herein.

Such additional time outweighs the best interests of the public and the

defendants in a speedy trial, as set out in 18 U.S.C. § 3161(h)(8).

      IT IS THEREFORE ORDERED that the motion of the United States for

an order extending the time for filing of the government’s responses to the

defendants’ pretrial motions, for one week, pursuant to 18 U.S.C. § 3161(h), is

granted.

      IT IS SO ORDERED.

                                     s/Richard D. Rogers
                                     United States District Judge




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